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FILED
IN THE UNITED STATES DISTRICT COURT oe
FOR THE NORTHERN DISTRICT OF OHIO HEC 07 7023
EASTERN DIVISION CLERK, U.S. DISTRICT COUR)
NORTE iEAN Dist nce OF OHIO
MICHAEL SMITH, : Case No. 5:23-CV-02198
Plaintiff, : JUDGE PEARSON
vs. MAG, JUDGE KNAPP
FLOCK SAFETY
Defendant.

PLAINTIFF MOTION TO WITHDRAW REQUEST FOR DEFAULT

Plaintiff Michael Smith, submit this motion to withdraw the (doc #5) Request for Default as it is
untimely.

A Submitted,
x

MICHAEL SMITH (pro se)
1225 Skyline dr apt 105
Orrville, Ohio 44667
Case: 5:23-cv-02198-BYP Doc #: 8 Filed: 12/07/23 2 of 2. PagelD #: 232

CERTIFICATE OF SERVICE

I, MICHAEL SMITH, hereby certify that on this 7th day of December 2023, I filed
this NOTICE TO WITHDRAW MOTION in person, This document is available for
viewing and downloading from the ECF system and electronic notification has been sent to

ali counsel of record via the court’s CM/ECF system.

s/ Michael Smith

Michael Smith (pro se)

